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                    EXHIBIT B
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                                                                              1
 1                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA
 2           BEFORE THE HONORABLE KIMBERLY J. MUELLER, CHIEF JUDGE

 3     UNITED STATES OF AMERICA,

 4                       Plaintiff,
       vs.                                Sacramento, California
 5                                        No. 2:19-CR-00107-KJM
                                          Monday, May 3, 2021
 6     RONALD YANDELL, ET AL.,            9:26 a.m.

 7                    Defendant.
       ____________________________/
 8                                 --oOo--

 9                     REPORTER'S TRANSCRIPT OF PROCEEDINGS

10                           RE: FURTHER MOTION HEARING

11                (Hearing conducted via Zoom videoconference.)

12                                      --oOo--

13     APPEARANCES:

14     For THE GOVERNMENT:          United States Attorney's Office
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17                                  Assistant U.S. Attorneys

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25     Proceedings recorded by mechanical stenography.           Transcript
       produced by computer-aided transcription.



                               TIPHANNE G. CROWE
                OFFICIAL COURT REPORTER, USDC - (916) 743-0122
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                                                                         16
 1                THE COURT:     Well, that's -- that's -- we're not going

 2     there this morning.

 3                MR. BALAZS:     Okay.   And so the argument here is that

 4     we believe there's information in that request that would show

 5     that officers or officials may have lied or that the -- their

 6     official justification for putting Mr. Daniel into PSU is -- is

 7     not right, and that they've -- as a result, it maybe -- it's

 8     also connected with the false allegation that he conspired to

 9     kill a correctional officer.

10                THE COURT:     All right.   I understand the arguments.

11     Anything to say in response to what you've just heard, Mr.

12     Hitt?   You are muted.

13                MR. HITT:     Just briefly, your Honor.

14                As the Court has sort of hit upon, ABA guidelines, the

15     DOJ manuel or not, the basis or authority for discovery, I

16     think the fundamental problem for materiality in these requests

17     is it conflates a subsequent event on October 7, related to

18     Mr. Daniel in 2020, with the charges in this case.

19                The two are just completely separate and unconnected

20     and untethered to the materiality analysis laid out by Wilson.

21                THE COURT:     I understand that position, but is -- is

22     the government saying that the later incident would be off the

23     table in any 3592 decision?

24                MR. HITT:     No.   But giving discovery now, particularly

25     as broad as it is, is not authorized by law, so it's a separate




                               TIPHANNE G. CROWE
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